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                                       STATEMENT OF FACTS
        Your affiant, Kristin Almeda, is a Special Agent assigned to the Federal Bureau of
Investigation (FBI). In my duties as a Special Agent, I have predominantly investigated
counterintelligence violations supporting the protection of classified and sensitive U.S.
Government information. As such, I have conducted multiple national security investigations,
which have involved violations of federal law. I have written search warrants, conducted suspect
and witness interviews, and conducted arrests. Currently, I am a tasked with investigating criminal
activity in and around the Capitol grounds on January 6, 2021. As a Special Agent, I am authorized
by law or by a Government agency to engage in or supervise the prevention, detention,
investigation, or prosecution of a violation of Federal criminal laws. The facts in this affidavit
come from my personal observations, my training and experience, and information obtained from
other agents, witnesses, and agencies. This affidavit is intended to show merely that there is
sufficient probable cause for the requested warrant

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice

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President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On January 12, 2021 the Federal Bureau of Investigation (FBI) received a tip from an
individual identified as witness (W1) that Tyler TEW had posted on Facebook that he was at the
United States Capitol on January 6, 2021. Using open search research tools, the FBI identified a
Facebook account that appeared to belong to TEW based upon the username, pictures and videos
associated with the account (depicted below). This Facebook account had the screenname
“tyler.tew.50”.

       The picture below (taken from a video) was taken from TEW’s Facebook account, and
appears to show TEW at a rally in Washington, D.C. on January 6, 2021. This video was posted
onto TEW’s Facebook account on January 6, 2021. The video shows a stage prepared for a speech
which includes a “Save America March” sign. TEW is wearing a red hat with the words “KEEP
AMERICA GREAT”, along with a khaki coat over a black hooded sweater, with a gray collar
under both of those layers (see pictures below):




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       The FBI further identified a post from TEW’s Facebook account dated January 6, 2021:




        According to records obtained through a search warrant served on Google, a mobile device
associated with        @gmail.com and telephone             -7939 was present at the U.S. Capitol
on January 6, 2021. Google estimates device location using sources including GPS data and
information about nearby Wi-Fi access points and Bluetooth beacons. This location data varies in
its accuracy, depending on the source(s) of the data. As a result, Google assigns a “maps display

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radius” for each location data point. Thus, where Google estimates that its location data is accurate
to within 10 meters, Google assigns a “maps display radius” of 10 meters to the location data
point. Finally, Google reports that its “maps display radius” reflects the actual location of the
covered device approximately 68% of the time. In this case, Google location data shows that a
device associated with             gmail.com was within and around the U.S. Capitol during the
approximate time frame of 14:27:25 hours to 16:28:17 hours. Google records show that the “maps
display radius” for this location data was 100 feet, which encompasses an area that is partially
within the U.S. Capitol Building.

       Subscriber records obtained from Verizon indicate that the Device is registered to Tyler
TEW and was assigned the telephone number           -7939 between at least the dates of January
1, 2021 and April 2, 2021, when records were provided.

        Specifically, Google GPS information showed TEW’s cellular telephone was geolocated
inside the U.S. Capitol between approximately 2:56PM through 3:00PM EST located most closely
to the Senate Parliamentarian Door of the U.S. Capitol.

       The FBI obtained videos and images from U.S. Capitol Police taken from surveillance
cameras inside the U.S. Capitol at the Senate Parliamentarian Door, which showed TEW inside
the U.S. Capitol between approximately 2:56PM and 2:59PM EST, consistent with Google GPS
information. TEW was observed on this camera wearing the same “KEEP AMERICA GREAT”
hat and khaki coat as the images above from TEW’s Facebook.

       In this camera footage, TEW was observed holding a device which appears to be a cellular
phone. At approximately 2:56PM EST, TEW entered the U.S. Capitol through the Senate
Parliamentarian door, looked inside the office that belonged to then Senate Appropriations
Committee Vice Chairman Richard Shelby (R-Ala.), and then walked north and out of view of the
Capitol camera. Several minutes later, TEW walked back into view of the Senate Parliamentarian
Door camera. At this time, his cellphone light was observed on and he was observed filming his
surroundings (see images below).

        A manager at the Idaho Falls Airport (where TEW frequently flies into and out of) was
shown the below images and stated that the person in the photographs could be TEW, but he could
not be absolutely certain as the photographs had the person’s head and lower face covered by a hat
and mask. The manager stated that the nose resembled TEW’s nose and the person was tall as is
TEW.




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        At several times, TEW's blue, disposable mask fell below his mouth, revealing more of his
face. The Affiant reviewed this video footage and positively identified this is the same Tyler TEW
on whom I served a search warrant on June 3, 2021. TEW was also observed wearing a gold ring
on his left ring finger. A cord was connected to the bottom of TEW's cellular telephone as he exited
the Senate Parliamentarian door. Lastly, in the seconds prior to his departure from view of the
Capitol camera, a bloom from a pepper ball blast originated from the bottom, right room. This
bloom went in TEW's direction and he was hit with some of the pepper balls as they flew in his
direction. TEW exited the Capitol door at approximately 2:59PM EST.




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        A little later between approximately 3:34PM and 4:27PM, Google GPS data showed
TEW’s cellular telephone was located on the north end of the U.S. Capitol. On several occasions,
the GPS data appeared to show TEW’s phone was geolocated directly at or inside the North Door
of the U.S. Capitol, such as between 3:35PM and 3:36PM. After 4:27PM, GPS data showed TEW
walking north away from the U.S. Capitol and then west on Northwest Drive.

        FBI obtained from Metropolitan Police Department a body-worn camera (BWC) video
from one officer stationed at the U.S. Capitol North Door on January 6, 2021 between 15:37PM
and 15:39PM EST. TEW was observed on this footage wearing the same “KEEP AMERICA
GREAT” hat, khaki coat, and wedding ring as other images herein at and inside the Capitol and at
the Rally. TEW also wore the same disposable, blue mask covering his mouth for the majority of
the video, although it slipped down to show more of his face at some points.

       TEW was observed on this BWC footage to have carried his cellular telephone in his hand.
At several points during the BWC footage, a cord was observed connected to and hanging from
TEW's cellular telephone.




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        TEW was observed on the footage possibly yelling at the law enforcement officers
stationed at the North Door until he was pepper sprayed at approximately 3:39PM EST.




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       On June 1, 2021, a search waiTant was obtained for TEW's Samsung Galaxy cellulai·
phone. On June 3, 2021, the FBI seized this telephone from Tyler TEW.

        A review of the Galaxy revealed numerous missing data indicative that TEW likely deleted
data from the Galaxy. For example, nearly all of the Internet histo1y and location data was missing
for the time between Januaiy 3, 2021 at 4:52:23PM and March 5, 2021 at 5:56:33PM MST. Also,
only po1tions of text message or Facebook conversations were present on the Galaxy. For many
of the conversations cited below, only po1tions of the conversations were found. For example,
there is one text message where a known U.S. person texted TEW at 4:48PM EST and said,
'                ·ust told me you were on the steps." There were no identified text messages to or
                       nor was any response to the sender found.

        The Galaxy contained photographs taken on Januaiy 6, 2021. Analysis revealed some
significant gaps in the automatically assigned numbering of those photographs. For example, the
DCIM telephone storage provided the following sequence of photograph numbers: 15849, 15861,
15862, 15864, 15866, 15868 (taken at 2:49:54PM EST), then 15885 (taken at 5:46:47PM)
and 15886 thereafter. Photographs stored in another location on the GALAXY taken on
Janua1y 6, 2021 also showed similar gaps in the photograph numbers: 20210106_145608
(2:56:08PM), 20210106_150105             (3:01 :05PM),     20210106_151704        (3:17:04PM),
20210106_151840 (3:18:40PM),           20210106_152902       (3:29:02PM),    20210106_153456
(3:34:56PM), and 20210106_161430 (4:14:30PM).

        Fragments of photographs and messages from the GALAXY revealed infonnation about
TEW having been inside the U.S. Capitol on Janua1y 6, 2021. On Janua1y 6 at 4: 11:11PM EST,
an individual asked TEW on one Facebook Messenger, "Are you inside the capitol?? I sweai· I
just saw a dude it looks just like you." At 4:11PM 1 , TEW responded, "I was inside. Got pepper
sprayed." At 3:31 PM EST, TEW texted to another U.S. telephone number, "Yes. With pepper


1 Time zones were not present for messages from Facebook Messenger, and said 2: 11. As this phone was seized in

Idaho (MST), two how-s were added to co1Tect these to EST for the pw-poses of this wan-ant.
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bullets” and “And pepper spray.” At 3:33PM EST, TEW texted another U.S. telephone number,
“Getting pepper spray inside the capital??? Lol.”

        On January 6 at 4:21PM EST, TEW sent a text to a U.S. telephone number, “How bout
pepper sprayed in the face for my country???? Lol.” On January 7 at 1:23PM EST, that number
responded to TEW, “Do you have any pics from yesterday”? TEW responded, “Yeah I got lots of
pics lol… Some I don’t dare share lol. They said they’re coming at noon. Sorry. But I warned them
you’ll be working for a bit.” At 1:53PM, TEW texted again, “Lol. Sorry, when you asked me
yesterday if I had anybody staying there soon I thought I read staying there today... I was a little
preoccupied yesterday wiping pepper spray out of my eyeballs!!! Lol."

         On January 8 at 9:27PM MST, TEW texted his spouse, “Fucking Covid. The reason why
I stormed the capital building! [winky emoji]” and “I stormed the capital building FOR YOU!!!!”
On January 9 at 2:42PM MST, TEW texted a U.S. telephone, “Yes. I need a little bit! I’m in AZ.
I’ll actually need it. Tell him I stormed the Capitol LOL maybe he’ll sell me bullets because I will
actually use them LOL.”

       On January 12 at 11:25AM MST, another individual texted TEW, “Send me the video of
you being in the capital building I promise you I won’t send it to anyone else I just want to show
one buddy. Cool? If not no big deal bud.”

       Various photographs and videos on the GALAXY showed TEW directly outside the U.S.
Capitol North Door. The timestamps of these photos were found between 2:56PM and 4:14PM
EST. Below were some of the photographs found on the GALAXY:




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       In one photograph, TEW was close enough to capture the name tag of the U.S. Capitol
Police officer at the door as “N. Martino.” I spoke with U.S. Capitol Police Officer N. Martino
who confirmed he was stationed at the North Door for a period of time on January 6 and was tasked
with barricading the door from the protestors.

       On June 11, 2021, FBI obtained a search warrant on TEW’s Facebook account with
username tyler.tew50. On June 14, 2021, FBI executed this search warrant on Facebook, Inc. On
June 15, 2021, Facebook provided the positive results for this Warrant.

         According to his Facebook account, on January 1, TEW said he was going to jump on a
flight from Phoenix to Washington D.C. On January 3, TEW said he thought he knew a few people
going to Washington D.C.

        Facebook records confirmed on January 6, 2021, TEW posted at 8:51AM EST, “Trump
Rall! #StopTheSteal.” At 2:25PM EST, TEW posted, “They are actively storming the capital.
Taking it back from the corrupt politicians! 1776!” One minute later, he posted, “The crowd is
actively storming the capital building. Unable to upload pictures or videos due to no service.” At
2:38PM, TEW posted the below photograph.


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        At 3:20PM EST, an individual messaged TEW, “Are you inside the capitol?? I swear I just
saw a dude it looks just like you,” and, “They’re talking about calling the national guard. Nancy
pelosi requested the national guard.” At 3:25PM EST, TEW responded, “I was inside. Got pepper
sprayed.”

       At 3:50PM EST, TEW posted, “They are actively storming the capital. Taking it back
from the corrupt politicians! 1776!” At 4:10PM EST, TEW posted a video.

       At 6:23PM EST, TEW posted:

   DC protests: to be clear! There was absolutely zero vandalism aside from a broken door that
   I saw, I saw no fighting and only anger at our government for allowing an election to be stolen.
   YOU SHOULD BE MAD TOO! There is no mob. There is respect to the police, at the door
   they are trying to convince the police to stand down, respectfully and allow the protesters to
   occupy OUR, the PEOPLE’S CAPITAL BUILDING. What other options do we the people
   have when if we allow this to go through there will never be another fair election for
   generations to come! The democrats will allow illegal immigrants to vote, they’ll add DC and
   Puerto Rico too [sic] the Senate. We will never have another chance at a fair election again.
   For those mad at the people attempting to occupy the capital building, look in the mirror and
   think about how this election was stolen right in front of our faces! That should make you sick!
   Not this!

        At 6:39PM EST, Tew posted, “I heard when people were inside the building they were
walking down the hallway and she got shot. I never saw a single armed protester. People would
go inside for short periods of time before running back out after being pepper sprayed… They was


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mop [sic] violence towards the police. I have no idea why she got shot. I also heard there may
have been a rubber bullet that went through her neck. I can’t confirm that tho.”

       Beginning at 4:22PM EST, TEW exchanged the following messages with an individual:

       TEW: Nobody’s breaking anything except trying to get inside again.
       TEW: There were only 3 or 4 Antifa “looking” people attempting to blend in but I was at
       the capitol. I heard Antifa didn’t stay that close that I’m aware of.
       USER: I should have gone out there with you and all of our Idaho Falls peeps.
       TEW: Can’t confirm or deny tho [sic] unless they admit to it…
       TEW: Yeah. Everything got stolen. Nobody seems to care. We decided to take it into
       our own hands by taking the capital.

       On January 7, 2021 at 10:06AM EST, Tew posted the below photograph.




       On January 7 at 10:29AM EST, TEW posted the following quote:

       [red light emoji] I ask you please use your brain [red light emoji] look at the pictures of
       PATRIOTS INSIDE THE CAPITAL Did some break some windows YES Was that a good
       thing? probably not but we were all here because we are fed up the lies and cheating Did
       you see Graffiti all over everything? Did you see statues bing [sic] pulled down? Did you
       see Patriots in the dark of the night picking on people and beating them up? Did you see
       PATRIOTS stealing Did you see PATRIOTS burning Did you see PATRIOTS destroying
       EVERYTHING in their path? In videos do you see PATRIOTS foaming at the mouth?
       Destroying everything Hurting people look again LET ME EXPLAIN WHAT HAPPENED
       We the people are fed up of the lying and cheating We the people are ready to take back
       our country We the people aren't talking about scorched earth We the people aren't burning
       down buildings We the people aren't Destroying businesses We the people aren't

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       Destroying our country We the people aren't looking to Destroy anything but the swamp
       We the people came here to make a point We the people came here to stand up We the
       people are not scared of our politicians We the people want a fair election We the people
       want the election FULLY INVESTIGATED We the people want our government to do their
       job We the people want our government to stop being crooked We the people want the
       people we hired to be the people we hired and not the RINOS that they are We the people
       are ready to stand up and make that happen There were SOOOOO many people here
       thousands if not a million here gathering to show our government this very thing. With this
       many people and this many pissed off people, all you get is a few broken windows and a
       group that goes inside the capital that is OUR HOUSE. I would say that was freaking
       phenomenal. Why are you people so disgusted with others that are truly exercising our
       rights? [stop sign emoji] [stop sign emoji] [stop sign emoji] STOP listening to the media
       [stop sign emoji] [stop sign emoji] [stop sign emoji] LOOK AT THE PICTURES you see
       of people that are inside the capital In those pictures I see patriots that just heard Pence
       wasn't going to stand up In those pictures I see patriots that want to make a point In those
       pictures I see patriots that went against the system. Unfortunately they broke some
       windows to get inside a government building they were being locked out of by the very
       group of people that are screwing us over. In those pictures, I see these people in the capital
       basically wondering around the capital taking pictures sitting at desks and rebeling [sic].
       In those pictures I see people that are trying to make a point by pushing a little further then
       just standing outside SHOW ME ONE PIC/VIDEO WHERE THEY ARE DESTROYING
       THINGS SHOW ME ONE PIC/VIDEO WHERE THEY ARE RUNNING OUT OF THE
       CAPITAL WITH PROPERTY FROM THE CAPITAL SHOW ME THE BURNING
       BUILDINGS SHOW ME THE FIGHTS THEN I ALSO WANT TO SEE ONE POST WHERE
       YOU WERE PISSED OFF OR AGAINST ANTIFA AND BLM DESTROYING ENTIRE
       CITIES What you are getting from the media is shifting your first perception of what you
       are seeing please look carefully. Use your own critical thinking.. I will be posting more of
       the "RIOT" stuff soon.

        On January 7 at 9:30PM EST, TEW messaged an individual, “Totally agree… They
could’ve stopped them at any second. The pepper spray and pepper balls were very effective.
People would get in, the come running out seconds later after being sprayed… Why did they wait
until they got in???” Thereafter TEW said, “Don’t ask me how I know how bad that pepper spray
feels [crying face emoji].” Later in their conversation, TEW said, “That’s why we stormed the
capital.”

       On January 8, 2021, someone said to TEW, “Hey man thanks for going to the capital… I
know some people are giving you a bunch of s*** for it and that’s f**** twisted and wrong…
Take some big balls to stand up and do what you did and then post it freely like that. Thanks again
my hats off to you.” TEW responded, “ I can’t be a bystander lol” and “Not in my blood.”

       January 9, 2021, TEW had the following conversation with an individual on Facebook:

       TEW: Storm the capital if needed [wink face emoji].
       Other individual: I know!! but are you worried about DC
       TEW: Like peeps getting arrested that went inside?
       TEW: I dunno… Not really.

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       TEW: Should I be?
       Other individual: [shrugging emoji] I wouldn’t really be.
       TEW: You got me worried when your asked haha… Scaring me.

        On January 12, 2021, another individual messaged TEW a screenshot of a message board
where the title read, “I just reported my cousin to the FBI for participating in Capitol riots. I
wonder if he’s going to get arrested…? But even if he doesn’t, the videos posted on his social
media will help to identify more people. I don’t even hate him, I just figured it was necessary to
do whatever I could to stop these things from happening.” TEW responded, “Unafraid. Patriotic.
Proud [wink face emoji]” The individual responded, “you’re on the wrong side of history. Best of
luck to you! [heart emoji].” TEW responded, “I pray that your eyes will be opened to the corruption
that has taken place in this country. Best of luck to you.”

       On January 21, the same person messaged TEW, “? I’m looking for information that was
accessible before the coup… the one you attended?” TEW responded with the following:

        I went to DC because I wanted the congressmen and the senators to not certify that
        fraudulent election. I firmly believe that with that much obvious corruption with dead
        people, voting machines, absolute statistical impossibilities overnight at three in the
        morning if the Democrats got in charge they would allow illegal immigrants to vote they
        100% vote Democrat because Democrats give them free stuff- the Bidens executive order
        that he signed today. he would allow Puerto Rico and Washington DC to become states
        which would allow for extra senators in a highly democratic population to vote. they
        would pack the Supreme Court so that if the Republicans try to fight it they would not be
        able to in court. all of these reasons make it so Democrats will rig the election to make it
        literally the last election in our lifetimes where Republicans ever had a chance. There is
        nobody to stop them if they control the house the Senate and the White House then they
        add two more states plus all the illegal immigrants plus packing the Supreme Court it's
        the end of America as we know it. saying that lightly either. The far left wing of the
        Democratic Party wants to fundamentally transform America away from what the
        founding fathers and the Constitution envisioned it. that's why I went to the capital. I
        wanted my voice heard and I wanted to show support to the senators who I hoped had a
        backbone strong enough to not certify that election.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
Tyler TEW violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.



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        Your affiant submits there is also probable cause to believe that Tyler TEW violated 40
U.S.C. § 5104(e)(2)(D) and (G) which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                   Respectfully submitted,



                                                   Kristin Almeda
                                                   Special Agent
                                                   Federal Bureau of Investigation


Attested to and sworn by the applicant pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3)
on November I 2, 2021.                                                  Zia M. Faruqui
                                                                          2021.11.12 16:20:10 -05'00'

                                                  ZIA M. F ARAQUI
                                                  UNITED STATES MAGISTRATE JUDGE




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